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United States District Court ready "//
WESTERN DISTRICT oF TENNESSEE //§;@L;,;/
Eastern Division ‘@V ’9/'

JUDGMENT IN A CIVIL CASE

DONNIE NEWBLE,
v.

JO ANNE B. BARNHART CASE NU|VIBER: 1105-1 050-`|'
Commissioner of Social Security

Decision by Court. This action came to consideration before the Court. The issues have been
considered and a decision has been rendered.

IT IS ORDERED AND ADJUDGED that in compliance With the order entered in the
above-Styled matter on 7/18/2005, the Commissioner’s decision is hereby AFFIRMED and this
case is hereby DISMISSED.

APPROVED:

_ Di 'TODD
UN TED STATES DISTRICT JUDGE

 

THOMAS M. GOUL;)

 

 

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DATE ’ DEPUTY CLERK

This document entered on the docket sheet in compliance

with Rule 58 and/or?Q(a) FRCP on 2 f § l l l l1 5 . b

 

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ESSEE

 

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Honorable J ames Todd
US DISTRICT COURT

